     Case 3:13-cv-03283-L-BN Document 17 Filed 01/21/14                 Page 1 of 1 PageID 73


                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

JOSE G. DE LA GARZA,                              §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §    Civil Action No. 3:13-CV-3283-L-BN
                                                  §
VA MED HOSPITAL, et al.,                          §
                                                  §
               Defendants.                        §

                                              ORDER

        This case was referred to Magistrate Judge David L. Horan, who entered Findings,

Conclusions and Recommendation of the United States Magistrate Judge (“Report”) on January 2,

2014, recommending that the action be dismissed without prejudice pursuant to Fed. R. Civ. P. 41(b)

for failure to prosecute. No objections were filed to the Report.

        Having reviewed the pleadings, file, and record in this case, and the findings and conclusions

of the magistrate judge, the court determines that the findings and conclusions of the magistrate

judge are correct, accepts them as those of the court, and dismisses without prejudice this action,

pursuant to Fed. R. Civ. P. 41(b), for failure to prosecute and follow court orders.

        It is so ordered this 21st day of January, 2014.



                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




Order –Solo page
